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 5
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 6   YEONG LEE
 7
 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
     YEONG LEE,                                       Case No.:
11
                  Plaintiff,                          COMPLAINT FOR INJUNCTIVE
12                                                    RELIEF AND DAMAGES FOR DENIAL
           vs.                                        OF CIVIL RIGHTS OF A DISABLED
13                                                    PERSON IN VIOLATIONS OF
14                                                    1. AMERICANS WITH DISABILITIES
                                                      ACT, 42 U.S.C. §12131 et seq.;
15   HY5 LLC; and DOES 1 to 10,
                  Defendants.                         2. CALIFORNIA’S UNRUH CIVIL
16                                                    RIGHTS ACT;
17                                                    3. CALIFORNIA’S DISABLED
                                                      PERSONS ACT;
18
                                                      4. CALIFORNIA HEALTH & SAFETY
19                                                    CODE;
20                                                    5. NEGLIGENCE
21
22
23
           Plaintiff YEONG LEE (“Plaintiff”) complains of Defendants HY5 LLC; and

24
     DOES 1 to 10 (“Defendants”) and alleges as follows:

25
                                               PARTIES

26
           1.     Plaintiff is a California resident with a physical disability. Plaintiff is a

27
     transfemoral amputee below both thighs and is substantially limited in her ability to walk.

28
     Plaintiff requires the use of a wheelchair at all times when traveling in public.



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 1            2.   Defendants are, or were at the time of the incident, the real property owners,
 2   business operators, lessors and/or lessees of the real property for a salon (“Business”)
 3   located at or about 626 E. Katella Ave., Orange, California.
 4            3.   The true names and capacities, whether individual, corporate, associate or
 5   otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
 6   who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
 7   Court to amend this Complaint when the true names and capacities have been
 8   ascertained. Plaintiff is informed and believes and, based thereon, alleges that each such
 9   fictitiously named Defendants are responsible in some manner, and therefore, liable to
10   Plaintiff for the acts herein alleged.
11            4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
12   times, each of the Defendants was the agent, employee, or alter-ego of each of the other
13   Defendants, and/or was acting in concert with each of the other Defendants, and in doing
14   the things alleged herein was acting with the knowledge and consent of the other
15   Defendants and within the course and scope of such agency or employment relationship.
16            5.   Whenever and wherever reference is made in this Complaint to any act or
17   failure to act by a defendant or Defendants, such allegations and references shall also be
18   deemed to mean the acts and failures to act of each Defendant acting individually, jointly
19   and severally.
20                                 JURISDICTION AND VENUE
21            6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
22   1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
23   seq.).
24            7.   Pursuant to pendant jurisdiction, attendant and related causes of action,
25   arising from the same nucleus of operating facts, are also brought under California law,
26   including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
27   54, 54., 54.3 and 55.
28            8.   Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.



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 1         9.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 2   property which is the subject of this action is located in this district, Orange County,
 3   California, and that all actions complained of herein take place in this district.
 4                                     FACTUAL ALLEGATIONS
 5         10.    In or about May of 2023, Plaintiff went to the Business.
 6         11.    The Business is a salon business establishment, open to the public, and is a
 7   place of public accommodation that affects commerce through its operation. Defendants
 8   provide parking spaces for customers.
 9         12.    While attempting to enter the Business during each visit, Plaintiff personally
10   encountered a number of barriers that interfered with her ability to use and enjoy the
11   goods, services, privileges, and accommodations offered at the Business.
12         13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
13   included, but were not limited to, the following:
14                a.     Defendants failed to comply with the federal and state standards for
15                       the parking space designated for persons with disabilities. Defendants
16                       failed to provide the parking space identification sign with the
17                       International Symbol of Accessibility.
18                b.     Defendants failed to comply with the federal and state standards for
19                       the parking space designated for persons with disabilities. Defendants
20                       failed to post required signage such as “Van Accessible,” “Minimum
21                       Fine $250” and “Unauthorized Parking.”
22                c.     Defendants failed to comply with the federal and state standards for
23                       the parking space designated for persons with disabilities. Defendants
24                       failed to provide proper van accessible space designated for the
25                       persons with disabilities as there were no “NO PARKING” markings
26                       painted on the surface of the access aisle.
27                d.     Defendants failed to comply with the federal and state standards for
28                       the parking space designated for persons with disabilities. Defendants



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 1                       failed to provide an access aisle with level surface slope as there was a
 2                       permanent ramp installed within the boundaries of the access aisle.
 3         14.    These barriers and conditions denied Plaintiff the full and equal access to the
 4   Business and caused Plaintiff difficulty and frustration. Plaintiff wishes to return and
 5   patronize the Business; however, Plaintiff is deterred from visiting the Business because
 6   her knowledge of these violations prevents her from returning until the barriers are
 7   removed.
 8         15.    Based on the violations, Plaintiff alleges, on information and belief, that
 9   there are additional barriers to accessibility at the Business after further site inspection.
10   Plaintiff seeks to have all barriers related to her disability remedied. See Doran v. 7-
11   Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
12         16.    In addition, Plaintiff alleges, on information and belief, that Defendants
13   knew that particular barriers render the Business inaccessible, violate state and federal
14   law, and interfere with access for the physically disabled.
15         17.    At all relevant times, Defendants had and still have control and dominion
16   over the conditions at this location and had and still have the financial resources to
17   remove these barriers without much difficulty or expenses to make the Business
18   accessible to the physically disabled in compliance with ADDAG and Title 24
19   regulations. Defendants have not removed such barriers and have not modified the
20   Business to conform to accessibility regulations.
21                                     FIRST CAUSE OF ACTION
22          VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
23         18.    Plaintiff incorporates by reference each of the allegations in all prior
24   paragraphs in this complaint.
25         19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
26   shall be discriminated against on the basis of disability in the full and equal enjoyment of
27   the goods, services, facilities, privileges, advantages, or accommodations of any place of
28




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 1   public accommodation by any person who owns, leases, or leases to, or operates a place
 2   of public accommodation. See 42 U.S.C. § 12182(a).
 3         20.   Discrimination, inter alia, includes:
 4               a.    A failure to make reasonable modification in policies, practices, or
 5                     procedures, when such modifications are necessary to afford such
 6                     goods, services, facilities, privileges, advantages, or accommodations
 7                     to individuals with disabilities, unless the entity can demonstrate that
 8                     making such modifications would fundamentally alter the nature of
 9                     such goods, services, facilities, privileges, advantages, or
10                     accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
11               b.    A failure to take such steps as may be necessary to ensure that no
12                     individual with a disability is excluded, denied services, segregated or
13                     otherwise treated differently than other individuals because of the
14                     absence of auxiliary aids and services, unless the entity can
15                     demonstrate that taking such steps would fundamentally alter the
16                     nature of the good, service, facility, privilege, advantage, or
17                     accommodation being offered or would result in an undue burden. 42
18                     U.S.C. § 12182(b)(2)(A)(iii).
19               c.    A failure to remove architectural barriers, and communication barriers
20                     that are structural in nature, in existing facilities, and transportation
21                     barriers in existing vehicles and rail passenger cars used by an
22                     establishment for transporting individuals (not including barriers that
23                     can only be removed through the retrofitting of vehicles or rail
24                     passenger cars by the installation of a hydraulic or other lift), where
25                     such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
26               d.    A failure to make alterations in such a manner that, to the maximum
27                     extent feasible, the altered portions of the facility are readily
28                     accessible to and usable by individuals with disabilities, including



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 1                       individuals who use wheelchairs or to ensure that, to the maximum
 2                       extent feasible, the path of travel to the altered area and the
 3                       bathrooms, telephones, and drinking fountains serving the altered
 4                       area, are readily accessible to and usable by individuals with
 5                       disabilities where such alterations to the path or travel or the
 6                       bathrooms, telephones, and drinking fountains serving the altered area
 7                       are not disproportionate to the overall alterations in terms of cost and
 8                       scope. 42 U.S.C. § 12183(a)(2).
 9         21.    Where parking spaces are provided, accessible parking spaces shall be
10   provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
11   eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
12   (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
13   Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
14   be a van accessible parking space. 2010 ADA Standards § 208.2.4.
15         22.    Under the ADA, the method and color of marking are to be addressed by
16   State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
17   Building Code (“CBC”), the parking space identification signs shall include the
18   International Symbol of Accessibility. Parking identification signs shall be reflectorized
19   with a minimum area of 70 square inches. Additional language or an additional sign
20   below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
21   parking space identification sign shall be permanently posted immediately adjacent and
22   visible from each parking space, shall be located with its centerline a maximum of 12
23   inches from the centerline of the parking space and may be posted on a wall at the
24   interior end of the parking space. See CBC § 11B-502.6, et seq.
25         23.    Moreover, an additional sign shall be posted either in a conspicuous place at
26   each entrance to an off-street parking facility or immediately adjacent to on-site
27   accessible parking and visible from each parking space. The additional sign shall not be
28   less than 17 inches wide by 22 inches high. The additional sign shall clearly state in



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 1   letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
 2   designated accessible spaces not displaying distinguishing placards or special license
 3   plates issued for persons with disabilities will be towed always at the owner’s expense…”
 4   See CBC § 11B-502.8, et seq.
 5         24.    Here, Defendants failed to provide the parking space identification sign with
 6   the International Symbol of Accessibility. In addition, Defendants failed to provide the
 7   signs stating “Minimum Fine $250” and “Van Accessible.” Moreover, Defendants failed
 8   to provide the additional sign with the specific language stating “Unauthorized vehicles
 9   parked in designated accessible spaces not displaying distinguishing placards or special
10   license plates issued for persons with disabilities will be towed always at the owner’s
11   expense…”
12         25.    For the parking spaces, access aisles shall be marked with a blue painted
13   borderline around their perimeter. The area within the blue borderlines shall be marked
14   with hatched lines a maximum of 36 inches (914 mm) on center in a color contrasting
15   with that of the aisle surface, preferably blue or white. The words "NO PARKING" shall
16   be painted on the surface within each access aisle in white letters a minimum of 12 inches
17   (305 mm) in height and located to be visible from the adjacent vehicular way. CBC §
18   11B-502.3.3.
19         26.    Here, Defendants failed to provide a proper access aisle as there were no
20   “NO PARKING” markings painted on the parking surface.
21         27.    Under the 1991 Standards, parking spaces and access aisles must be level
22   with surface slopes not exceeding 1:50 (2%) in all directions. 1991 Standards § 4.6.2.
23   Accessible parking spaces shall be at least 96 in (2440 mm) wide. Parking access aisles
24   shall be part of an accessible route to the building or facility entrance and shall comply
25   with 4.3. Two accessible parking spaces may share a common access aisle. Parked
26   vehicle overhangs shall not reduce the clear width of an accessible route. Parking spaces
27   and access aisles shall be level with surface slopes not exceeding 1:50 (2%) in all
28   directions. 1991 Standards § 4.6.3.



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 1         28.      Here, the access aisle is not level with the parking spaces as there was a
 2   permanent ramp installed within the boundaries of the access aisle. Under the 2010
 3   Standards, access aisles shall be at the same level as the parking spaces they serve.
 4   Changes in level are not permitted. 2010 Standards § 502.4. “Access aisles are required
 5   to be nearly level in all directions to provide a surface for transfer to and from vehicles.”
 6   2010 Standards § 502.4 Advisory. Id. No more than a 1:48 slope is permitted.
 7         29.      A public accommodation shall maintain in operable working condition those
 8   features of facilities and equipment that are required to be readily accessible to and usable
 9   by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
10         30.      By failing to maintain the facility to be readily accessible and usable by
11   Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
12   regulations.
13         31.      The Business has denied and continues to deny full and equal access to
14   Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
15   discriminated against due to the lack of accessible facilities, and therefore, seeks
16   injunctive relief to alter facilities to make such facilities readily accessible to and usable
17   by individuals with disabilities.
18                                 SECOND CAUSE OF ACTION
19                     VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
20         32.      Plaintiff incorporates by reference each of the allegations in all prior
21   paragraphs in this complaint.
22         33.      California Civil Code § 51 states, “All persons within the jurisdiction of this
23   state are free and equal, and no matter what their sex, race, color, religion, ancestry,
24   national origin, disability, medical condition, genetic information, marital status, sexual
25   orientation, citizenship, primary language, or immigration status are entitled to the full
26   and equal accommodations, advantages, facilities, privileges, or services in all business
27   establishments of every kind whatsoever.”
28




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 1         34.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
 2   or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
 3   for each and every offense for the actual damages, and any amount that may be
 4   determined by a jury, or a court sitting without a jury, up to a maximum of three times the
 5   amount of actual damage but in no case less than four thousand dollars ($4,000) and any
 6   attorney’s fees that may be determined by the court in addition thereto, suffered by any
 7   person denied the rights provided in Section 51, 51.5, or 51.6.
 8         35.    California Civil Code § 51(f) specifies, “a violation of the right of any
 9   individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
10   shall also constitute a violation of this section.”
11         36.    The actions and omissions of Defendants alleged herein constitute a denial
12   of full and equal accommodation, advantages, facilities, privileges, or services by
13   physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
14   Defendants have discriminated against Plaintiff in violation of California Civil Code §§
15   51 and 52.
16         37.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
17   difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
18   damages as specified in California Civil Code §55.56(a)-(c).
19                                  THIRD CAUSE OF ACTION
20                VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
21         38.    Plaintiff incorporates by reference each of the allegations in all prior
22   paragraphs in this complaint.
23         39.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
24   entitled to full and equal access, as other members of the general public, to
25   accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
26   and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
27   railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
28   of transportation (whether private, public, franchised, licensed, contracted, or otherwise



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 1    provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
 2    places of public accommodations, amusement, or resort, and other places in which the
 3    general public is invited, subject only to the conditions and limitations established by
 4    law, or state or federal regulation, and applicable alike to all persons.
 5          40.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
 6    corporation who denies or interferes with admittance to or enjoyment of public facilities
 7    as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
 8    individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
 9    the actual damages, and any amount as may be determined by a jury, or a court sitting
10    without a jury, up to a maximum of three times the amount of actual damages but in no
11    case less than one thousand dollars ($1,000) and any attorney’s fees that may be
12    determined by the court in addition thereto, suffered by any person denied the rights
13    provided in Section 54, 54.1, and 54.2.
14          41.    California Civil Code § 54(d) specifies, “a violation of the right of an
15    individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
16    constitute a violation of this section, and nothing in this section shall be construed to limit
17    the access of any person in violation of that act.
18          42.    The actions and omissions of Defendants alleged herein constitute a denial
19    of full and equal accommodation, advantages, and facilities by physically disabled
20    persons within the meaning of California Civil Code § 54. Defendants have
21    discriminated against Plaintiff in violation of California Civil Code § 54.
22          43.    The violations of the California Disabled Persons Act caused Plaintiff to
23    experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
24    statutory damages as specified in California Civil Code §55.56(a)-(c).
25                                 FOURTH CAUSE OF ACTION
26                 CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
27          44.    Plaintiff incorporates by reference each of the allegations in all prior
28    paragraphs in this complaint.



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 1           45.    Plaintiff and other similar physically disabled persons who require the use of
 2    a wheelchair are unable to use public facilities on a “full and equal” basis unless each
 3    such facility is in compliance with the provisions of California Health & Safety Code §
 4    19955 et seq. Plaintiff is a member of the public whose rights are protected by the
 5    provisions of California Health & Safety Code § 19955 et seq.
 6           46.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
 7    that public accommodations or facilities constructed in this state with private funds
 8    adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
 9    Title 1 of the Government Code. The code relating to such public accommodations also
10    require that “when sanitary facilities are made available for the public, clients, or
11    employees in these stations, centers, or buildings, they shall be made available for
12    persons with disabilities.
13           47.    Title II of the ADA holds as a “general rule” that no individual shall be
14    discriminated against on the basis of disability in the full and equal enjoyment of goods
15    (or use), services, facilities, privileges, and accommodations offered by any person who
16    owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
17    Further, each and every violation of the ADA also constitutes a separate and distinct
18    violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
19    award of damages and injunctive relief pursuant to California law, including but not
20    limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
21                                    FIFTH CAUSE OF ACTION
22                                          NEGLIGENCE
23           48.    Plaintiff incorporates by reference each of the allegations in all prior
24    paragraphs in this complaint.
25           49.    Defendants have a general duty and a duty under the ADA, Unruh Civil
26    Rights Act and California Disabled Persons Act to provide safe and accessible facilities
27    to the Plaintiff.
28




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 1          50.    Defendants breached their duty of care by violating the provisions of ADA,
 2    Unruh Civil Rights Act and California Disabled Persons Act.
 3          51.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
 4    has suffered damages.
 5                                     PRAYER FOR RELIEF
 6          WHEREFORE, Plaintiff respectfully prays for relief and judgment against
 7    Defendants as follows:
 8          1.     For preliminary and permanent injunction directing Defendants to comply
 9    with the Americans with Disability Act and the Unruh Civil Rights Act;
10          2.     Award of all appropriate damages, including but not limited to statutory
11    damages, general damages and treble damages in amounts, according to proof;
12          3.     Award of all reasonable restitution for Defendants’ unfair competition
13    practices;
14          4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
15    action;
16          5.     Prejudgment interest pursuant to California Civil Code § 3291; and
17          6.     Such other and further relief as the Court deems just and proper.
18                               DEMAND FOR TRIAL BY JURY
19          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
20    demands a trial by jury on all issues so triable.
21
22    Dated: August 21, 2023                  SO. CAL. EQUAL ACCESS GROUP
23
24
25                                            By:    _/s/ Jason J. Kim___________
                                                     Jason J. Kim, Esq.
26                                                   Attorneys for Plaintiff
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                                            COMPLAINT - 12
